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PETITION UNDER 28 U.S.C. § 2254 For WRIT OF
HABEAS CORPUS BY A DISTRICT OF COLUMBIA PRISONER
IN FEDERAL CUSTODY

 

 

 

UNITED STATES DISTRICT COURT

 

 

TER,

FOR THE Seuthern DISTRICT OF WEST VIRGIL TA gan

  

RAYMOND R-ROSEBORO CASE NO:2010-CF1-23156
#50029-007 F.C-I. McDOWELL
PETITIONER, (D.C. SUPERIOR COURT)

22)9- CV Q0ES

BARABARA RICKARD, WARDEN
et al
RESPONDANT,

 
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1. (a) Name and location of court that entered the judgment of conviction you are challenging:

ex io 3
fer The. District of
wf 12. i gq ) 4
(b) Criminal docket ortase nuriber (if you know): *#ele “CF | -A3ISl

2. (a) Date of the judgment of conviction (if you know): 2/ le / Leis
(b) Date of sentencing: 4) of 20)% , ‘

3. Length of sentence: (46 A bed yor)

(5) “V7 Supervised rclease,

4. In this case, were you convicted on more than one count or of more than one crime? (Yes )No

5. Identify all crimes of which you were convicted and sentenced in this case:
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Foss of a Creacm dt Crime & vichew sedans, henge

CPwol
Unlavlul poss. f 2ynmuy).

 

DC -Cod€s) : 22- Ziel ,— 4 S0Z Geel) 4 So(b ) (2<ei ) - 22-4504 (2) (Zee!) -
27-2502. (sal) 7-Z506. 01

6. (a) What was your plea? (Check one)

1 Not guilty (3 Nolo contendere (no
) contest)
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(2 Guilty (4 Insanity plea
) )

(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge,
what did you plead guilty to and what did you plead not guilty to? af A-

 

 

 

 

 

 

(c) If you went to trial, what kind of trial did you have? (Check one)

Mary Judge only

7. Did you testify at a pretrial hearing, trial, or a post-trial hearing?

@m

8. Did you appeal from the judgment of conviction?

(red) no

9. lf you did appeal, answer the following:
(a) Name of court: Dic - Court o€ Appeal s
(b) Docket or case number (if you know)! | Appea| hot WA-CE-45¢
(c) Result: AFFIRMED
(d) Date of result (if you know): 5/29/2015
(e) Citation to the case.(if you know): 7 ,
(f) Grounds raised: “Tri a| Sudue Failed +e conduct 2 hear: ny
afler recyesin reli able reports that @ Jerr is lep +
“eneesasl perk eas of “tral

 

 
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(g) Did you seek further review by a higher state court? Yes
if yes, answer the following:

(2)

(3)

(4)

(5)

(6)

Name of court: _ N/A

v

Docket or case number (if you know): N/. A

Result: NLA

 

Date of result (if you know): N VA A

Citation to the case (if you know): w/ A

Grounds raised: N/A

 

 

 

(nh) Did you file a petition for certiorari in the United States Supreme Court? Yes
if yes, answer the following:
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(1) Docket or case number (if you know): N/ A

(2) Resut:__ N/A

 

(3) Date of result (if you know): NL A
(4) Citation to the case (if you know): N JA

10. Other than the direct appeals listed above, have you previously filed any other petitions,
applications, or motions concerning this judgment of conviction in any state court?
(ves) No

11. If your answer to Question 10 was “Yes,” give the following information:

(a) (1) Name of court: D.C. Court 0 Appeals
(2) Docket or case number (if you know): | "Appeal Neo: 13-CF-459
(3) Date of filing (if you know): 5/6 /goi l
(4) Nature of the proceeding: Motion “Le Recall Mandate

5
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(5) Grounds raised: mmnefeect ive As sistavice, of
AppeNaie Kennel for failing do purse
Thefl- Asact. “Trial Conse] weith

“epee ie pg Juror 'ssue,

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or
motion?

Yes }
(7) Wo), Denied

(8) Date of result (if you know): _ le /4 qf ZelG

(b) if you filed any second petition, application, or motion, give the same information:
(1) Name of court: N/A
(2) Docket or case numbér (if you know): __ 4) /4
(3) Date of filing (ff you know): WA .
(4) Nature of the proceeding: ALA
(5) Grounds raised: N/ A

 

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or
motion?
Yes No

(7) Result: SA
(8) Date of resulf (if you know): ry, A

(c) [If you filed any third petition, application, or motion, give the sare information:
(1) Name of court: NJ Ar
(d)

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(2) Docket or case number (if you know): wi/ A
(3) Date of filing (if you know): NIA
(4) Nature of the proceeding: ‘

(5) Grounds raised: N/A

 

 

 

 

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ttt

(6) Did you receive a hearing where evidence was given on your petition, application, or

motion?

Yes No

(7) Result: N/A

(8) Date of result (if you know): LA

Did you appeal to the highest state court having jurisdiction over the action taken on your petition,

application, or motion?

©

(1) First Y
petition: e

s
(2) Second Y No
petition: e

s
(3) Third ¥ No
petition: é

s

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

“There is no Vehicle, +o 2Ppeal “Motiey te Reesll Mandate“
200 Cosrt Cireut.

IM the wa hunslen
A

 

 
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12. For this petition, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more than

four grounds. State the facts supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your
available state-court remedies on each ground on which you request action by the federal court.
Also, if you fail to set forth all the grounds in this petition, you may be barred from presenting

additional grounds at a later date.

GROUND ONE: “The, 0.C. Cort of Appeals Pasted to recall the Mendate
where my Appellate Caungel wes verfiably mefctive.

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

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Difeck Appeal was Filed Ee wrote letters directs my Appe Wats
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Attorney te persue an Tneeective Assistance of Coursel claim
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a ss “Trial Aseeney for ny £235 lore +o renew Wis Previen)

request Ae the “rial Sudse te conduct 2 Nears te ingvire  abeut
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the  oter that sleet Threeah Severe | portly of yny dria J ens)

 

Sex 2| other 4. sues mctadins +his Savy. err pasoins Notes dering
Aral with(2) other vers uliile the drial preceeded .

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(b) If you did not exhaust your state remedies on Ground One, explain why: “There 15 we ava lable

 

remedy tn the District of Columbia +e appea| a ” Recoil of Moundete “
7

 

After ik ry denied boy the DC. Court of Appeals,

 

(c) Direct Appeal of Ground One:

(1) If you appealed from the judgment of conviction, did you raise this issue?

Yes No w/A

(2) _ If you did not raise this issue in your direct appeal, explain why: There 19 ne Ava \ ladle,
Sete Courtde rewiedy fe appeal.

 

(d) Post-Conviction Proceedings:

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state

trial court?
Yes (No)

(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition: N/A
Name and location of the court where the motion or petition was filed:

9
(3)

(4)

(5)

(6)

(7)

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Docket or case number (if you know): w/A
Date of the court's decision: ASA

 

Result (attach a copy of the court's opinion or order, if available): N /A-

 

 

Did you receive a hearing on your motion or petition?

Yes No
N ‘/. Ae

Did you appeal from the denial of your motion or petition?

Yes No
N/A

if your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes No
N/A

If your answer to Question (d)(4) is “Yes,” state:
Name and location of the court where the appeal was filed: /, A

 

 

Docket or case number (if you know): WwiA
Date of the court’s decision: wf/A

 

Result (attach a copy of the court’s opifion or order, if available):

 

 

if your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this
issue: ry, Va
10
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(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies,
etc.) that you have used to exhaust your state remedies on Ground One: ev, (An

 

 

GROUND TWO: N JAC

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

w/A
7

 

 

 

 

 

 

 
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(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes No
w/A

(6) If your answer to Question (d)(4) is “Yes,” state:
Name and location of the court where the appeal was filed: mi fA
Docket or case number (if you know): nu L&

Date of the court's decision: V/A
Result (attach a Copy of the court's opinion or order, if available): i {Ap

 

 

 

 

 

(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this
issue:

Aw /A
é

 

 

 

(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies,
etc.) that you have used to exhaust your state remedies on Ground Four: LAT

 

 

 

 

13. Please answer these additional questions about the petition you are filing:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest

State court having jurisdiction? No
If your answer is “No,” state which grounds have not been so presented and give your reason(s)

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for not presenting them: tf A

 

 

 

(b) Is there any ground in this petition that has not been

court? If so, which ground or grounds have not been pre
presenting them: No

presented in some state or federal
sented, and state your reasons for not

 

 

 

14,

Have you previously filed any type of petition, application,_or motion in a federal court regarding
the conviction that you challenge in this petition? Yes(No)

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, the

issues raised, the date of the court's decision, and the result for each petition, application, or motion filed.
Attach a copy of any court Opinion or order, if available.

 

 

 

 

 

 

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15. Do you have any petition or appeal now pending (filed and not ? ssieee yet) in any court, either

state or federal, for the judgment you are challenging? Yes
If “Yes,” state the name and location of the court, the docket or case number, the type of

proceeding, and the issues raised. nl AA

 

 

 

16. Give the name and address, if you know, of each attorney who represented you in the following

stages of the judgment you are challenging:
(a) At preliminary hearing: 2

 

 

 

 

 

 

(b) At arraignment and plea: 2,
(c) At trial: 2,
(d) At sentencing: Zz,

 

 

(e) On appeal: Themas Db. Cnale Go| Pennsylvania Ave. Nw wachia 4°, DO. Zocif
O

Suite Joo Sevth ~~ 2e7 ) S74 -olfoce
(f) In any post-conviction proceeding: ni / 4.

 

(g) On appeal from any ruling against you in a post-conviction proceeding:
fA

 

 

17. Do you have any future Yes(No* to serve after you complete the sentence for the judgment that

you are chalienging? Yes
(a) If so, give name and location of court that imposed the other sentence you will serve in the

 

 

 

 

future: w/A
(b) Give the date the other sentence was imposed: V/A
(c) Give the length of the other sentence: nifA’

(d) Have you filed, or do you plan to file, any petition’ that challenges the judgment or sentence
to be served in the future? Yes No N/A

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18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you

must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2244(d) does
not bar your petition. *

i Dil. Coort of Appeals

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which is less than (4) sper +¢ -the date
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Therefore, petitioner asks that the Court grant the following relief: Vacate all convichions execute |

&

Qoumst me by the Superior Court fer the District of! Celvmbia ; Th the alternate
w 7

 

Reynand this case back to the lover court fr further preceed O58; Appent rent

o  Cornsel te assist me in ny pursat oF Ouhe.

or any other relief to which petitioner may be entitled.

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Signature of Attorney (if any)

| declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and
that this Petition for Writ of Habeas Corpus was placed in the prison mailing system on
Maven YL or (month, date, year).

 

Executed (signed) on “aie 9.0 (date).
tenet man entering
~ \AfL
LAY Lh ae
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Signature of Petitioner

if the person signing is not petitioner, state re

lationship to petitioner and explain why petitioner is not
signing this petition.

 

 

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